          Case 1:23-cr-00203-DLF         Document 38        Filed 09/25/23      Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               :
UNITED STATES OF AMERICA                       :       Case No.: 23-cr-203 (DLF)
                                               :
          v.                                   :       40 U.S.C. § 5104(e)(2)(G)
                                               :
SCOTT RAY CHRISTENSEN,                         :
                                               :
               Defendant.                      :
                                               :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, Scott Ray Christensen,

with the concurrence of the defendant’s attorney, agree and stipulate to the below factual basis for

the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that

the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.     The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.     On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.     On January 6, 2021, a joint session of the United States Congress convened at the

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,

                                              Page 1 of 6
        Case 1:23-cr-00203-DLF           Document 38        Filed 09/25/23      Page 2 of 6




November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by

approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

       4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

       5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. Officers with the D.C. Metropolitan Police

Department were called to assist officers of the USCP who were then engaged in the performance

of their official duties. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks as required by USCP officers or other authorized security officials.

       6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.9 million dollars for repairs.



                                             Page 2 of 6
        Case 1:23-cr-00203-DLF          Document 38       Filed 09/25/23    Page 3 of 6




       7.      Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

              The Defendant’s Participation in the January 6, 2021, Capitol Riot

       8.      The defendant, Scott Ray Christensen and his wife and co-defendant Holly Dionne

Christensen, live in Puyallup, Washington. On January 6, 2021, the Christensens were in

Washington, D.C., where they attended the “Stop the Steal” rally at the Washington Monument.

From the rally, the Christensens walked to the Capitol building.

       9.      The East Rotunda Door was breached by rioters opening it from the inside at

approximately 2:38 PM. The Christensens entered the Capitol building through the East Rotunda

Door five minutes later, at approximately 2:43 PM. They entered with a large group of rioters who

had congregated on the stairs and landing outside of the East Rotunda Door. When they entered,

there were alarms going off inside the building. The Christensens should have known they did not

have lawful authority to enter the Capitol building.




                                            Page 3 of 6
        Case 1:23-cr-00203-DLF          Document 38       Filed 09/25/23     Page 4 of 6




       10.     Once the Christensens were inside the Capitol building, they walked into the

Rotunda, where they took photos and video on their cellphones. There, they paraded around and

demonstrated. They were inside the Rotunda for approximately four minutes.

       11.     Throughout the afternoon, police officers used a variety of measures in an effort to

prevent unauthorized individuals from gaining access to the Capitol building, and to clear the area

of individuals who had already entered. One of those measures was to deploy pepper spray, a

chemical irritant, against the rioters. At some point while on Capitol grounds or inside the U.S.

Capitol, the Christensens encountered pepper spray, and some of the chemical got on Holly Dionne

Christensen’s face.

       12.     At approximately 2:52 PM, the Christensens took an elevator to the fourth floor of

the Senate side of the building. There, they used the restroom, and Holly Dionne Christensen

cleaned the pepper spray from her face. The Christensens then took the same elevator back to the

second floor, which is the floor where the Rotunda is located.

       13.     At approximately 3:00 PM, the Christensens re-entered the Rotunda together. For

the next several minutes, the Christensens each again paraded around the Rotunda and

demonstrated. They got separated from each other due to the size of the crowd and the fact that

the police were attempting to clear the Rotunda of the rioters.

       14.     Scott Ray Christensen exited the Capitol building via the East Rotunda Door at

approximately 3:32 PM.

       15.     The Christensens remained on Capitol grounds until at least 5:04 PM.




                                            Page 4 of 6
       Case 1:23-cr-00203-DLF           Document 38        Filed 09/25/23       Page 5 of 6




                                      Elements of the Offense

       16.      The parties agree that 40 U.S.C. § 5104(e)(2)(G) requires the following elements:

             a. First, the defendant paraded, demonstrated, or picketed in any of the United States

                Capitol Buildings.

             b. Second, the defendant acted willfully and knowingly.


                                  Defendant’s Acknowledgments

       17.      Scott Ray Christensen knowingly and voluntarily admits to all the elements as set

forth above. Specifically, the defendant admits that he willfully and knowingly paraded,

demonstrated, and picketed inside the U.S. Capitol Building.



                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052


                                              By:     /s/ Carolina Nevin
                                                      CAROLINA NEVIN
                                                      Assistant United States Attorney
                                                      NY Bar No. 5226121
                                                      601 D Street, NW
                                                      Washington, DC 20530
                                                      carolina.nevin@usdoj.gov
                                                      (202) 803-1612




                                             Page 5 of 6
Case 1:23-cr-00203-DLF   Document 38   Filed 09/25/23   Page 6 of 6
